                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION



HUGH L. RILEY, Reg. No. 1104541,                      )
                                                      )
                                Plaintiff,            )
                                                      )
                        v.                            )          No. 06-4211-CV-C-NKL
                                                      )
LARRY CRAWFORD, et al.,                               )
                                                      )
                                Defendants.           )

                                              ORDER

          On August 24, 2007, United States Magistrate Judge William A. Knox recommended
dismissing plaintiff's claims. The parties were advised they could file written exceptions to the
recommendation, pursuant to 28 U.S.C. § 636(b)(1)(C). No exceptions have been filed.
          A review of the record convinces the court that the recommendation of the Magistrate
Judge is correct and should be adopted.
          Inmates who file an appeal with the United States Court of Appeals for the Eighth Circuit
are required to pay the full $455.00 appellate filing fee, regardless of the outcome of the appeal.
Henderson v. Norris, 129 F.3d 481, 484 (8th Cir. 1997). The filing of a notice of appeal is
considered a consent by the inmate to allow prison officials to deduct an initial partial appellate
filing fee and later installments from the prisoner’s account.
          IT IS, THEREFORE, ORDERED that the Report and Recommendation of August 24,
2007, is adopted. [69] It is further
          ORDERED that plaintiff’s motion to amend is denied. [63] It is further
          ORDERED that plaintiff’s motion for preliminary injunctive relief is denied. [62] It is
further




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       ORDERED that defendant White’s motion to dismiss is granted and plaintiff’s claims are
dismissed for failure to state a claim on which relief may be granted. [58]



                                             /s/

                                             NANETTE K. LAUGHREY
                                             United States District Judge

Dated: October 1, 2007
Jefferson City, Missouri




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